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IN THE UNITED sTATEs DIsTRIcT CoURT :¢.-,LED BY _ __” D_C_
FoR THE WESTERN DISTRICT oF TENNESSEE `
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UNITED AUTO GROUP, a Delawal‘e COrp. W_D_ OF TN MEMFH[S

Plaintiffs,
v. No. 04-2802 D/P

ADAM EWING and ANDREW BARBEE,

Defendants.

\h/\-/`~.V\_’v\_¢\_#\_/\_/\-/

 

ORDER DENYING AS MOOT DEFENDANTS’ MOTION TO DISMISS OR TO STAY
ALL PROCEEDINGS

 

Before the Court is the Defendants Adarn Ewing and Andrew Barbee’s (“Defendants”) April
22, 2005, motion (dkt. # 70) to dismiss or, in the alternative to stay all proceedings until the Shelby
County Chancery Court had an opportunity to rule on the rights of all parties to the Settlement
Agreement. The Chancery Court case has since been removed to federal court (case no. 05-2323
D/V), and Was non-suited on May 17, 2005. Therefore, since the state case that formed the basis for
the instant motion is no longer pending, the motion to dismiss, or in the alternative to stay, is now

moot. Thus, Defendants’ motion to dismiss or to stay all proceedings is denied as moot.

IT ls so 0RDERED this 50 day ofJune, 2005.

 

ICE BOUIE ONAL

Thés document entered on the docket sheet in cor'.'¢;)!i:wc»: UN D STATES DISTRICT JUDGE
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This notice confirms a copy of the document docketed as number 84 in
case 2:04-CV-02802 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

